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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 18-81061-CIV-ALTMAN/Brannon

   FUNDING METRICS, LLC,

          Plaintiff,

   v.

   DECISION ONE DEBT RELIEF LLC; D1
   SERVICING GROUP, LLC; VERITAS
   LEGAL PLAN, INC.; ANGELO ANZALONE;
   VICTOR CASTALDO; JOHN
   SANDOVAL; and STEVEN SCORSONE,

         Defendants.
   __________________________________________/

                                           OMNIBUS ORDER

          THIS MATTER comes before the Court upon (1) the Motion to Dismiss [the] Amended

   Complaint (“MTD”), filed by Decision One Debt Relief, LLC (“DDR”), and John Sandoval

   (“Sandoval”) on April 8, 2019 [ECF No. 87] 1; (2) D1 Servicing Group, LLC’s (“D1”) Motion to

   Join Motion to Dismiss (“Mot. Join”), filed on June 18, 2019 [ECF No. 112] 2; and (3) D1’s Motion

   to Set Aside Clerk’s Default (“Mot. Set Aside”), filed on June 21, 2019 [ECF No. 120]. 3 The Court

   held a hearing on these motions on June 24, 2019, at which the parties presented their oral

   arguments. The Court has carefully considered the parties’ briefing, the arguments of counsel, and

   the applicable law.




   1
     The Plaintiff filed its Response (“MTD Resp.”) on April 26, 2019 [ECF No. 96], and DDR &
   Sandoval filed their Reply (“MTD Reply”) on May 3, 2019 [ECF No. 99].
   2
     The Plaintiff filed a Response on June 21, 2019 [ECF No. 117].
   3
     The Plaintiff filed a Response (“Mot. Set Aside Resp.”) on July 3, 2019 [ECF No. 131].
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                                               I.      THE LAW

           “To survive a motion to dismiss [under Rule 12(b)(6)], a complaint must contain sufficient

   factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

   Iqbal, 556 U.S. 662, 678 (2009) (alteration added) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

   544, 570 (2007)). To meet this “plausibility standard,” a plaintiff must “plead[] factual content that

   allows the court to draw the reasonable inference that the defendant is liable for the misconduct

   alleged.” Id. (alteration added) (citing Twombly, 550 U.S. at 556). Pleadings must contain “more

   than labels and conclusions, and a formulaic recitation of the elements of a cause of action will not

   do.” Twombly, 550 U.S. at 555 (citation omitted). “The mere possibility the defendant acted

   unlawfully is insufficient to survive a motion to dismiss.” Sinaltrainal v. Coca-Cola Co., 578 F.3d

   1252, 1261 (11th Cir. 2009) (citation omitted), abrogated on other grounds by Mohamad v.

   Palestinian Auth., 566 U.S. 449 (2012).

           It is likewise well-established that, on a motion to dismiss, the Court must construe the

   complaint in the light most favorable to the plaintiff and accept the plaintiff’s factual allegations

   as true. See Brooks v. Blue Cross & Blue Shield of Fla., Inc., 116 F.3d 1364, 1369 (11th Cir. 1997)

   (citing SEC v. ESM Grp., Inc., 835 F.2d 270, 272 (11th Cir. 1988)). But unsupported factual

   allegations and legal conclusions receive no such deference. See Iqbal, 556 U.S. at 679 (“While

   legal conclusions can provide the framework of a complaint, they must be supported by factual

   allegations.”).

                                              II.     THE FACTS

           The Amended Complaint contains four counts: (1) Count I alleges a violation of 18 U.S.C.

   § 1962(c) (“RICO”) against all of the Defendants; (2) Count II raises a tortious interference claim

   against DDR and Sandoval; (3) Count III levies a conversion claim against DDR and Sandoval;



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   and (4) Count IV, relying on New York law, alleges that DDR and Veritas Legal Plan, Inc.

   (“Veritas”) accepted a “fraudulent conveyance.” See generally Am. Compl. [ECF No. 75].

          The Plaintiff, Funding Metrics, LLC (“FM”), provides “cash advance funding” to

   merchants, many of whom are small businesses. Am. Compl. ¶¶ 2, 22-28. 4 FM also enters into

   separate security agreements with the merchants, by which FM acquires a security interest in the

   merchants’ receivables, inventory, and other assets. Am. Compl. ¶¶ 25-26. DDR, on the other

   hand, “presents itself as being able to renegotiate and restructure merchant agreements with FM.”

   Id. ¶ 2. FM describes DDR as a “debt relief” company that “persuades merchants to stop paying

   their cash advance funders based on its representations that DDR will negotiate a reduction in their

   obligations.” MTD Resp. at 4 (citing Am. Compl. ¶¶ 2-3, 29-41). Sandoval is the founder and CEO

   of DDR. Am. Compl. ¶ 18.

          FM contends that DDR induces merchants, by mail and e-mail, to “stop paying their cash

   advance providers and [to] pay DDR instead, based on representations that DDR will provide the

   merchants with negotiation services and [that] Veritas will defend them.” MTD Resp. at 5 (citing

   Am. Compl. ¶¶ 2-8, 37-43). According to the Amended Complaint, DDR induced 30 of FM’s

   merchant-clients to breach their contracts with FM—resulting in losses to FM of “over

   $1,000,000,” as well as “injury to the merchants, who end up having paid DDR for nothing while

   getting deeper into debt to FM.” MTD Resp. at 5 (citing Am. Compl. ¶¶ 27, 42, 77-78).




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    FM has attached one such cash advance funding agreement as Exhibit 1 to its Amended
   Complaint. See [ECF No. 75-1].
                                                    3
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                                             III.   ANALYSIS

   A. Count 1: Civil RICO

          To state a viable civil RICO claim, FM must allege: (1) conduct (2) of an enterprise (3)

   through a pattern (4) of racketeering activity. See Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 496

   (1985). In support of its attack on FM’s RICO claim, DDR raises three principal arguments. First,

   it says the RICO claim is “unripe” because FM has not yet “foreclosed on [its] collateral” by suing

   the defaulting merchants. MTD at 8-9. Second, it contends that FM has not established the

   necessary degree of distinctness between the “persons” comprising the enterprise and the

   enterprise itself. MTD at 18. Third, it argues that FM cannot maintain its RICO claim against the

   Defendants because FM was not directly harmed by the Defendants’ alleged fraud. MTD at 9-12.

          DDR’s first and second arguments should not long detain us. First, it is well-settled that a

   civil RICO claim may accrue “even when the amount of loss may be reduced by other lawsuits”

   because the “possibility of recovery on other claims affects the amount of RICO damages, not the

   accrual of the RICO claim.” See Liquidation Comm'n of Banco Intercontinental, S.A. v. Renta, 530

   F.3d 1339, 1350 (11th Cir. 2008). Accordingly, the Court rejects DDR’s suggestion that FM’s

   decision not to foreclose upon the merchants’ collateral somehow precludes FM, as a matter of

   law, from pursuing a RICO claim against DDR directly. Second, the allegations in the Amended

   Complaint make clear that the alleged RICO enterprise consists of two separate corporate

   entities—DDR and Veritas—working together with two different individuals—Sandoval and

   Anzalone. Am. Compl. ¶¶ 1-11. Because the alleged enterprise is not merely between either DDR

   and its agents or Veritas and its agents, the purported enterprise does not, as DDR suggests, lack

   in distinctiveness. See United States v. Goldin Indus., Inc., 219 F.3d 1268, 1270 (11th Cir. 2000)

   (finding that the plain language of § 1962(c) envisions two separate entities and requiring that each



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   defendant be separate and distinct from the “enterprise”). The Court therefore rejects DDR’s

   second argument for the dismissal of FM’s RICO claim.

             On its third attempt, though, DDR hits its target. A civil RICO plaintiff must establish that

   the defendant’s racketeering activity proximately caused his injuries. See Beck v. Prupis, 162 F.3d

   1090, 1095 (11th Cir. 1998). And it is axiomatic that “proximate cause” requires a direct

   relationship between the “injury asserted and the injurious conduct alleged.” Holmes v. Sec. Inv’r

   Prot. Corp., 503 U.S. 258, 268 (1992). In describing this “directness requirement,” the Supreme

   Court has articulated the following three principles (the “Holmes principles”) that lower courts

   should consider in evaluating the sufficiency of a RICO plaintiff’s proximate-cause averments:

             First, the less direct an injury is, the more difficult it becomes to ascertain the
             amount of a plaintiff's damages attributable to the violation, as distinct from other,
             independent, factors. Second, quite apart from problems of proving factual
             causation, recognizing claims of the indirectly injured would force courts to adopt
             complicated rules apportioning damages among plaintiffs removed at different
             levels of injury from the violative acts, to obviate the risk of multiple
             recoveries. And, finally, the need to grapple with these problems is simply
             unjustified by the general interest in deterring injurious conduct, since directly
             injured victims can generally be counted on to vindicate the law as private attorneys
             general, without any of the problems attendant upon suits by plaintiffs injured more
             remotely.

   Holmes, 503 U.S. at 269. At its core, then, Holmes stands for the proposition that “a plaintiff who

   complain[s] of harm flowing merely from the misfortunes visited upon a third person by the

   defendant’s [bad] acts [is] generally said to stand at too remote a distance to recover.” Id. at 268-

   69.

             Fourteen years after Holmes, the Supreme Court, in Anza v. Ideal Steel Supply Corp., 547

   U.S. 451 (2006), adopted five “motivating principles”—principles the Eleventh Circuit has

   deployed as factors 5—that animate this “directness requirement”: (1) “the difficulty that can arise



   5
       See, e.g., Corcel Corp. v. Ferguson Enterprises, Inc., 551 F. App’x 571, 576 (11th Cir. 2014).
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   when a court attempts to ascertain the damages caused by some remote action”; (2) “the

   speculative nature of the proceedings that would follow if [the plaintiff] were permitted to maintain

   its claim”; (3) “whether the alleged harm could have resulted from factors other than [the

   plaintiff’s] alleged acts of fraud”; (4) “any appreciable risk of duplicative recoveries”; and (5)

   “whether the immediate victims of [the] alleged RICO violation can be expected to vindicate the

   laws by pursuing their own claims.” Anza, 547 U.S. at 458-60 (cleaned up) (the “Anza factors”).

          For its part, the Eleventh Circuit has repeatedly employed either the five Anza factors or

   the three Holmes principles to dispose of civil RICO claims where, as here, the defendant’s conduct

   did not directly cause the plaintiff’s injuries. So, for example, in Green Leaf Nursery v. E.I. DuPont

   De Nemours & Co., 341 F.3d 1292 (11th Cir. 2003), the plaintiff argued that the defendants had

   engaged in RICO violations by “hid[ing] and falsif[ying]” evidence in several lawsuits around the

   country. Dismissing the RICO claim, the Eleventh Circuit held that the “directness inquiry is not

   a question of specific intent.” Id. at 1307. Indeed, whether or not the defendants had specifically

   intended to obstruct justice or tamper with witnesses, the salient question, the court said, was

   whether the defendant’s alleged pattern of racketeering activity had directly caused the plaintiff’s

   injuries. Id. at 1308. Accord Bivens Gardens Office Bldg., Inc. v. Barnett Banks of Fla., Inc., 140

   F.3d 898 (11th Cir. 1998) (dismissing shareholders’ civil RICO claims against the company

   because the shareholder-plaintiffs were not the targets of the company’s alleged pattern of

   racketeering activity); Johnson Enterprises of Jacksonville, Inc. v. FPL Group, 162 F.3d 1290

   (11th Cir. 1998) (plaintiff could not assert a RICO claim based on fraudulent misrepresentations

   the defendant made to third parties); Pelletier v. Zweifel, 921 F.2d 1465 (11th Cir. 1991) (holding

   that, where the predicate acts supporting a civil RICO claim are mail or wire fraud, the plaintiff

   must have been a target of the scheme to defraud); Allocco v. City of Coral Gables, 221 F. Supp.



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   2d 1317 (S.D. Fla. 2002), aff’d, 88 F. App’x 380 (11th Cir. 2003) (same); Halpin v. Crist, 405 F.

   App’x 403, 406 (11th Cir. 2010) (rejecting civil RICO claims premised on defendants’ scheme to

   defraud the Florida Department of Corrections because, although the scheme resulted in the

   plaintiff-prisoners paying more for certain goods, a RICO plaintiff “may not assert

   misrepresentations that were directed toward another person or entity, but [rather must] be the

   target of the scheme to defraud”).

          As in many of these cases, all of the Anza factors weigh strongly in DDR’s favor here.

   Starting with the first and third factors—“the difficulty that can arise when a court attempts to

   ascertain the damages caused by some remote action” and “whether the alleged harm could have

   resulted from factors other than [the plaintiff’s] alleged acts of fraud”—no court could ever reliably

   conclude that it was DDR’s conduct that directly caused FM’s damages, because there are, with

   respect to each individual merchant, at least three other potential, intervening causes: viz. (1) the

   merchants’ independent decision, in the first instance, to accept DDR’s representations and to enter

   into contracts with DDR; 6 (2) the merchants’ subsequent, independent decision to breach their

   contracts with FM; 7 and (3) the merchants’ final, independent decision, after breaching, not to

   attempt to reconcile with FM by, among other things, settling with FM, either in full or at a

   discount, see Am. Compl. ¶¶ 42(f)-(g), 42(m) (averring that some of the merchants reached a

   separate agreement with FM to settle their contractual disputes “without the assistance of DDR

   negotiators”). Indeed, with or without DDR, some or all of the merchants may well have decided

   to breach their contractual obligations with FM sua sponte. By this same token, even merchants



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     It is entirely likely, too, that some of the merchants might have withstood DDR’s advances and,
   as such, decided not to enter into contracts with DDR. Indeed, it is reasonable to assume that
   something short of 100% of the merchants DDR approached actually signed a contract with DDR.
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     Here, again, it is not unreasonable to assume that, even some of the merchants that did decide to
   enter into contracts with DDR, nevertheless elected not to breach their obligations to FM.
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   who knew or strongly suspected that DDR’s statements were fraudulent might nevertheless have

   used the opportunity presented by DDR to cut ties with FM—either because they perceived FM’s

   rates as usurious or for some other legitimate business reason. Cf. Anza, 547 U.S. at 459

   (“Businesses lose and gain customers for many reasons, and it would require a complex assessment

   to establish what portion of [FM’s] lost sales were the product of [DDR’s RICO violation].”). In

   any of these highly plausible scenarios, DDR’s alleged RICO violations would have had no

   meaningful effect—that is to say, no direct effect—on FM’s injuries. Because, in short, the

   merchants at all times retained the power either to remain with FM or, as the case may be, to

   breach, their intervening actions are precisely the sort of “independent factors” that, as Anza

   instructs, break the causal chain.

          For this same reason, the second Anza factor—“the speculative nature of the proceedings

   that would follow if [the plaintiff] were permitted to maintain its claim”—redounds heavily to

   DDR’s benefit. After all, whether, and to what extent, any or all of the merchants’ intervening

   decisions contributed to FM’s injuries—or whether, instead, FM’s injuries were caused entirely

   by DDR’s misrepresentations—is impossible (or, at least, very difficult) to say.

          The fourth factor—the risk of “duplicative recoveries”—likewise supports dismissal.

   Whatever happens here, FM will retain the right to bring indisputably cognizable breach-of-

   contract claims against the merchants directly. Allowing it to proceed against DDR, also, leaves

   open the possibility that, when all is said and done, FM’s RICO claims will have left it (unduly)

   enriched by “duplicative recoveries.” Here, FM halfheartedly complains that some of these

   merchants may be insolvent. MTD Resp. at 7. And so they may be. But some others, as FM

   concedes, are not. Id. In either event, difficulties in collection do not render FM’s double

   recoveries—once against the merchant and a second time against DDR—any less “duplicative.”



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          The fifth and final Anza factor—“whether the immediate victims of [the] alleged RICO

   violation can be expected to vindicate the laws by pursuing their own claims”—similarly militates

   in favor of dismissal. The client-merchants are, in this case, the “immediate victim better situated

   to sue.” Bridge, 553 U.S. at 658. And, as the Anza Court noted, “directly injured victims can

   generally be counted on to vindicate the law as private attorneys general, without any of the

   problems attendant upon suits by plaintiffs injured more remotely.” Id. at 460 (cleaned up). 8

          Moreover, nothing in the Amended Complaint suggests that DDR’s purported scheme

   specifically targeted FM. Instead, as relevant here, the Amended Complaint makes the following

   allegations: (1) the direct targets of DDR’s fraudulent scheme were the merchants—not FM; (2)

   DDR only ever made false and fraudulent representations to the merchants—again, never to FM;

   and (3) all of the many calls, e-mails, and correspondence that, together, constitute the sine qua

   non of DDR’s fraudulent scheme were, again, between DDR and the merchants—not FM. Am.

   Compl. ¶¶ 1, 3, 7, 9, 62. Notably, the Amended Complaint also includes no allegations that DDR’s

   “pattern of racketeering activity” ever targeted, or was in any way intended to defraud, FM. Cf.

   Am. Compl. ¶ 3 (“The Merchants are in fact systematically defrauded . . . DDR has established a

   deceptive business practice of making misleading and often outright false representations to

   merchants . . . .”). To the contrary, the Amended Complaint makes plain that DDR “parasit[ically]”

   targeted, not just FM’s merchant-clients, but also merchants who entered into cash advance

   agreements with other funders. See Am. Compl. ¶ 92. In short, DDR’s fraudulent conduct was




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    Nor does there appear to be any reason to “broaden the universe of actionable harms to permit
   RICO suits by parties who have been injured only indirectly.” Anza, 547 U.S. at 460. After all, the
   Court’s ruling here does not prevent FM from recovering, in tort, precisely what it has lost. See
   Section B, infra.
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   “aimed primarily at a third party”—the merchants—and not at FM. Green Leaf Nursery, 341 F.3d

   at 1307.

          Against all this, FM says that Holmes and Anza have been substantially undermined by the

   Supreme Court’s decision in Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639 (2008). Bridge,

   in FM’s view, stands for the proposition that a civil RICO plaintiff “need not be the sole, or even

   primary ‘target’ of fraud.” MTD Resp. at 15. At oral argument, FM even suggested that Bridge

   somehow eliminated or significantly modified Anza’s “directness requirement.” But Bridge did no

   such thing. Quite to the contrary, Bridge specifically adopted the “proximate-cause principles

   articulated in Holmes and Anza.” Bridge, 553 U.S. at 657-58.

          In fact, far from altering the Court’s proximate-cause analysis, Bridge involved the entirely

   separate question of whether § 1962(c)—the statute at issue here—requires plaintiffs to “show that

   they relied on petitioners’ fraudulent misrepresentations.” Bridge, 553 U.S. at 648. At least two

   circuit courts of appeals—the Sixth and the Eleventh—had, over the years, read this “reliance”

   element into the statute.9 In holding that § 1962(c) contains no such “reliance” element, the Court

   explained: “If petitioners’ proposed requirement of first-party reliance seems to come out of

   nowhere, there is a reason: Nothing on the face of the relevant statutory provisions imposes such

   a requirement.” Id. To the contrary, “[u]sing the mail to execute or attempt to execute a scheme to

   defraud is indictable as mail fraud, and hence a predicate act of racketeering under RICO, even if

   no one relied on any misrepresentation. And one can conduct the affairs of a qualifying enterprise

   through a pattern of such acts without anyone relying on a fraudulent misrepresentation.” Id.

   (cleaned up).



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    Bridge thus abrogated Sikes v. Teleline, Inc., 281 F.3d 1350 (11th Cir. 2002), and VanDenBroeck
   v. CommonPoint Mortgage Co., 210 F.3d 696 (6th Cir. 2000).


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          Having rejected the defendants’ principal argument that § 1962(c) contains a reliance

   element, the Court turned to the defendants’ alternative position—that “a plaintiff who brings such

   a claim must show that it relied on the defendant’s misrepresentations in order to establish the

   requisite element of causation.” Id. at 653. Here, the Court applied both the Anza factors and the

   Holmes principles to conclude that the plaintiffs had, in fact, established the requisite level of

   directness between the defendants’ conduct and their own injuries. Id. at 654-60. In this respect,

   Bridge’s holding was narrowly tailored to the unique circumstances of that case, which differ

   materially from the facts alleged in the Amended Complaint—and which thus warrant brief

   attention here.

          Every year, the Treasurer of Cook County, Illinois, held a public auction, at which it sold

   the tax liens the County had acquired against the properties of delinquent taxpayers. Id. at 642.

   Prospective buyers, like the plaintiffs and defendants in Bridge, bid on those liens—but not in

   cash. Id. Instead, the bids were put forward as a percentage of the penalties the property owners

   would have to pay the winning bidder to clear the liens. Id. A “bidder willing to accept the lowest

   penalty wins the auction and obtains the right to purchase the lien in exchange for paying the

   outstanding taxes on the property.” Id. The property owner could then “redeem” his parcel by

   paying the lienholder the delinquent taxes. Id. Of course, if the property owner failed to pay, the

   lienholder could obtain a tax deed for the property, effectively purchasing the property for the

   value of the delinquent taxes. Id.

          This system created two principal problems for the County. First, most of the delinquent

   properties would receive bids of zero percent, which then required the County to invoke a

   tiebreaking procedure. Id. To solve this first problem, Cook County initiated a “rotational” system

   that evenly allocated the tax liens to the universe of “winning,” zero-percent bidders over time. Id.



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   at 643. But this equal apportionment system created a second problem: professional bidding

   enterprises could send multiple agents to the auction, each of whom would present zero-percent

   bids on the properties as if they were actually separate bidders. Because the “rotational” system

   was evenly allocated on the basis of the total number of bidders, the professional enterprises’

   scheme would result, over time, in those enterprises receiving a disproportionate share of the

   winning bids—that is, more bids than they would have won had they, like everyone else,

   propounded only one, zero-percent bid per property. Id. To remedy this second problem, the

   County instituted a “Single, Simultaneous Bidder Rule” that required each bidding entity to submit

   a bid only in its own name and which prohibited the use of “apparent agents, employees, or related

   entities” to place simultaneous bids for the same parcel. Id. The Bridge plaintiffs accused the

   defendants of violating the “Single, Simultaneous Bidder Rule” by falsely attesting to the County

   that certain firms were unrelated when, in truth, the firms were, on the defendants’ behalf, bidding

   collusively on the tax liens. Id. at 644.

           Quoting exclusively from Holmes and Anza, the Supreme Court laid out the legal standard

   it would apply to the defendants’ proximate-cause argument:

           Proximate cause, we explained [in Holmes], is a flexible concept that does not lend
           itself to a black-letter rule that will dictate the result in every case. Instead, we use
           ‘proximate cause’ to label generically the judicial tools used to limit a person’s
           responsibility for the consequences of that person’s own acts with a particular
           emphasis on the “demand for some direct relation between the injury asserted and
           the injurious conduct alleged.” See also Anza, supra, at 461 (“When a court
           evaluates a RICO claim for proximate causation, the central question it must ask is
           whether the alleged violation led directly to the plaintiff’s injuries”). The direct-
           relation requirement avoids the difficulties associated with attempting “to ascertain
           the amount of a plaintiff’s damages attributable to the violation, as distinct from
           other, independent, factors”; prevents courts from having “to adopt complicated
           rules apportioning damages among plaintiffs removed at different levels of injury
           from the violative acts, to obviate the risk of multiple recoveries”; and recognizes
           the fact that “directly injured victims can generally be counted on to vindicate the
           law as private attorneys general, without any [] of the problems attendant upon suits
           by plaintiffs injured more remotely[.]”


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   Id. at 654-55 (cleaned up). Applying the Anza factors to the facts of that case, the Court had little

   difficulty finding that the plaintiff-respondents had sufficiently established a “direct financial

   injury”:

          Respondents’ alleged injury—the loss of valuable liens—is the direct result of
          petitioners’ fraud. It was a foreseeable and natural consequence of petitioners’
          scheme to obtain more liens for themselves that other bidders would obtain fewer
          liens. And here, unlike in Holmes and Anza, there are no independent factors that
          account for respondents’ injury, there is no risk of duplicative recoveries by
          plaintiffs removed at different levels of injury from the violation, and no more
          immediate victim is better situated to sue. Indeed, both the District Court and the
          Court of Appeals concluded that respondents and other losing bidders were
          the only parties injured by petitioners’ misrepresentations.

   Id. at 658 (emphasis added).

          The Bridge plaintiffs, then, satisfied each of the Anza factors. First, there was no “difficulty

   ascertain[ing] the [plaintiffs’] damages” because those damages could be easily calculated by

   subtracting the number of liens the plaintiffs actually received on zero-percent bids from the

   number of zero-percent liens they mathematically would have received had the defendants

   submitted, as they were required to do, only one bid per property. 10 Second, this calculation was

   in no way “speculative” because, whatever the plaintiffs’ ultimate damages were, those damages

   did not need to be set off in any way by the possibility that other victims may have likewise

   recovered some portion of the defendants’ unjust enrichment. Third, while the Bridge damages

   calculation may not have been simple, it was not, as here, muddled by the interposition of

   intervening causes or the presence of other victims in closer proximity to the RICO scheme.

   Fourth, there was no “appreciable risk of duplicative recoveries” because, unlike the merchants’

   breaches in this case, the Bridge scheme did not involve the wrongful acts of any third parties



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     To complete the calculation, the plaintiffs would then have had to multiply the difference by the
   expected value of the liens they lost.
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   situated between the plaintiffs and the defendants. And fifth, for similar reasons, there were no

   other, more “immediate victims” who could be expected to vindicate the laws by pursuing their

   own claims.” Anza, 547 U.S. at 458-60.

          As to this last point, the Court rejected the defendants’ suggestion that the County was a

   more “immediate” victim of the defendants’ false attestations. Bridge, 553 U.S. at 658. And this

   makes sense. After all, under its “rotational” system, the County evenly allocated the total number

   of tax liens to the “winning,” zero-percent bidders—a number unaltered by the fact that the

   defendants, by their fraud, received more liens than they deserved. In this very important respect,

   in other words, the Bridge plaintiffs—who, by virtue of the even apportionment system, would

   have received more of the liens but for the defendants’ fraud—were the only victims of the

   defendants’ scheme.

          In each of these ways, in short, the Bridge damages calculation differed markedly from the

   computation that would be required in this case. As in Anza, but unlike in Bridge, the “cause of

   [FM’s] asserted harms . . . is a set of actions [the merchants not honoring their contracts] entirely

   distinct from the alleged RICO violation [DDR’s misrepresentations to the merchants].” Anza, 547

   U.S. at 458. And, as in Holmes, DDR’s alleged RICO violations are linked to FM’s injuries “only

   through the [merchants’] inability to meet their financial obligations.” Id.

          Bridge does contain one further passage that, though FM does not cite to it, requires brief

   discussion here:

          The Restatement provision cited by petitioners . . . . provides only that the plaintiff’s
          loss must be a foreseeable result of someone’s reliance on the misrepresentation. It
          does not say that only those who rely on the misrepresentation can suffer a legally
          cognizable injury. And any such notion would be contradicted by the long line of
          cases in which courts have permitted a plaintiff directly injured by a fraudulent
          misrepresentation to recover even though it was a third party, and not the plaintiff,
          who relied on the defendant’s misrepresentation. Indeed, so well established is the
          defendant’s liability in such circumstances that the Restatement (Second) of Torts


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          sets forth as a general principle that one who intentionally causes injury to another
          is subject to liability to the other for that injury, if his conduct is generally culpable
          and not justifiable under the circumstances. As an illustration, the Restatement
          provides the example of a defendant who seeks to promote his own interests by
          telling a known falsehood to or about the plaintiff or his product. And the
          Restatement specifically recognizes a cause of action in favor of the injured party
          where the defendant defrauds another for the purpose of causing pecuniary harm to
          a third person.

   Bridge, 553 U.S. at 566-67 (cleaned up).

          But this passage articulates nothing more than the “general principle” that a third-party

   plaintiff may, under certain circumstances, sue for injuries that are proximately—that is, directly—

   caused by an intentional wrongdoer. What this passage does not suggest, however, is that a third-

   party plaintiff may, as a matter of course, sue for any and all injuries that may or may not have

   proximately flowed from the wrongdoer’s conduct. To the contrary, as Anza and Holmes made

   clear, and as Bridge reiterated, RICO plaintiffs cannot proceed where, as here, “independent

   factors” break the causal chain. Id. at 658.

          Moreover, when viewed in proper context, this passage from Bridge, unquestionably dicta,

   is not nearly as capacious as FM might suggest. 11 See Gundy v. United States, 139 S. Ct. 2116,

   2139 (2019) (Gorsuch, J., dissenting) (“We sometimes chide people for treating judicial opinions

   as if they were statutes, divorcing a passing comment from its context, ignoring all that came

   before and after, and treating an isolated phrase as if it were controlling.”). Even under the most

   permissive reading of the Amended Complaint, DDR’s scheme did not have, as its “purpose,” the

   “causing of pecuniary harm to” FM. In fact, FM concedes that DDR’s targets were the

   merchants—not FM—and that DDR perpetrated its fraud against merchants associated with a

   “number of funding companies,” only one of which was FM. Am. Compl. ¶ 2.



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      Again, although FM does not rely on this passage at all, the Court addresses it anyway in the
   interest of completeness.
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          Bridge, in sum, does not replace the five-factor Anza test, call into question the Holmes

   principles, or otherwise abrogate the long line of Eleventh Circuit cases which have required, as a

   pre-requisite to a viable civil RICO claim, that the defendant’s conduct directly cause the plaintiff’s

   injuries. See Inversiones y Procesadora Tropical INPROTSA, S.A. v. Del Monte Int’l GmbH, 921

   F.3d 1291, 1301 (11th Cir. 2019) (courts must follow a decision of a prior panel of the Eleventh

   Circuit even when a subsequent Supreme Court opinion weakens that decision); accord Tobinick

   v. Novella, 884 F.3d 1110, 1118 (11th Cir. 2018) (holding that courts are bound to follow a

   Supreme Court decision that undermines circuit precedent to the point of abrogation). Notably,

   the Eleventh Circuit has, since Bridge, continued to analyze RICO causation narrowly and to

   affirm the dismissal of civil RICO claims where, as here, the defendant’s allegedly fraudulent

   scheme did not injure the plaintiff directly. See Halpin, 405 F. App’x at 406.

          Accordingly, DDR’s Motion to Dismiss Count I of the Amended Complaint with prejudice

   is GRANTED.

   B. Count II: Tortious Interference with Contract

          Count II of the Amended Complaint makes a claim for tortious interference with contract

   against both DDR and Sandoval. To state a viable tortious interference claim, FM must show: (1)

   the existence of a contract; (2) the defendant’s knowledge of the contract; (3) the defendant’s

   intentional procurement of the contract’s breach; (4) the absence of justification or privilege; and

   (5) damages resulting from the breach. Johnson Enters. of Jacksonville, Inc. v. FPL Group, Inc.,

   162 F.3d 1290, 1321 (11th Cir. 1990).

          Apparently conceding, at least at this stage of the proceedings, that FM has satisfied four

   of these five elements, DDR contends only that it was justified in “interfering with Plaintiff’s

   contracts with its merchants.” MTD Reply at 11. Sandoval, for his part, admits that FM has



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   adequately pled the elements of a tortious interference claim, but nevertheless argues that, unless

   the Court elects to pierce DDR’s corporate veil, he cannot be held individually liable for any

   misconduct he allegedly committed as an officer of DDR. Both arguments are meritless.

          Taking Sandoval’s argument first, although an officer may not be held individually liable

   for acts or omissions pertaining to a corporation’s management or policy, he is not “shielded from

   accountability” for his own tortious misconduct. Special Purpose Accounts Receivable Co-op

   Corp. v. Prime One Capital Co., 125 F. Supp. 2d 1093, 1104–05 (S.D. Fla. 2000). “In fact, the

   opposite is true. Florida courts uniformly hold that if an officer, director, or agent commits or

   participates in a tort, whether or not his actions are by authority of the corporation or in furtherance

   of the corporate business, that individual will be liable to third persons injured by his actions,

   regardless of whether liability attaches to the corporation for the tort.” Id. Here, the Amended

   Complaint alleges that Sandoval crafted DDR’s fraudulent company policies, was the architect of

   DDR’s RICO scheme, and trained the company’s sales and customer service representatives to

   “lure merchants into the program.” MTD Resp. at 20. In sum, because the Amended Complaint

   plainly alleges that Sandoval himself participated in the tortious conduct, he can be held

   individually liable for that conduct—with or without piercing the corporate veil.

          DDR’s suggestion that it had a “justification or privilege” to interfere with the cash advance

   agreements between FM and the merchants fares no better. As FM correctly notes, the

   “justification or privilege” element applies only where the alleged tortfeasor has a prior contractual

   agreement with, or legal interest in, the breaching party. MTD Resp. at 21 (citing KMS Rest. Corp.

   v. Wendy’s Int’l, Inc., 361 F.3d 1321, 1325-27 (11th Cir. 2004) (franchisor had privilege to

   interfere in affairs of franchisee)). But there are no allegations in the Amended Complaint (or in




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   DDR’s response) to the effect that DDR had any such prior contractual agreements with, or interest

   in, the merchant-clients.

      Accordingly, DDR and Sandoval’s Motion to Dismiss Count II is DENIED.

   C. Count 3: Conversion

          Conversion is an “act of dominion wrongfully asserted over another’s property inconsistent

   with [its] ownership therein.” Warshall v. Price, 629 So. 2d 903, 904 (Fla. 4th DCA 1993). “A

   lienholder is considered to be an ‘owner’ for the purposes of conversion if he has a present right

   of possession.” See Bel-Bel Int’l Corp. v. Cmty. Bank of Homestead, 162 F.3d 1101, 1108 (11th

   Cir. 1998) (citations omitted). Florida courts have required a lienholder, like FM, to establish that

   a converter exercised its “wrongful” dominion over the property by way of a “positive, overt act

   or acts.” Black Bus. Inv. Fund of Cent. Fla., Inc. v. State, Dep’t of Econ. Opportunity, 178 So. 3d

   931, 936 (Fla. 1st DCA 2015) (cleaned up). Moreover, to state a claim for the conversion of money,

   the plaintiff must identify a specific and segregated fund, which may include receivables in which

   the plaintiff has a property right. Bel-Bel Int’l, 162 F.3d at 1108.

          Pointing to its cash advance and security agreements with the merchants, FM says that it

   had a “present right of possession” in “the accounts receivable and inventory and their proceeds,

   which constitute specific funds in which it has a property right superior to any right DDR could

   assert.” Am. Compl. ¶ 26. And FM avers that DDR exercised wrongful dominion over specific

   funds of money by way of three distinct varieties of “positive, overt act or acts”: (1) DDR

   unilaterally “debited funds from the Merchants’ bank accounts despite FM’s superior property

   rights,” MTD at 22; see also Am. Compl. ¶ 99; (2) DDR directed merchants to create a new bank

   account through which it could re-route to DDR payments that were previously scheduled for FM,




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   see Am. Compl. ¶¶ 38, 70; and (3) DDR accepted voluntary payments from the merchants. MTD

   at 23 (citing Am. Compl. ¶¶ 5, 41-42, 66).

           The first two varieties plainly describe DDR’s unilateral diversion of specific receivables

   that, but for DDR’s allegedly wrongful acts, would have ended up in FM’s possession. See also

   Special Purpose Accounts Receivable Co-op Corp., 125 F. Supp. 2d 1093 (analogizing Bel-Bel

   and finding that the plaintiff’s conversion claims withstood the defendants’ motion for summary

   judgment where, as here, the defendants interfered with, and exercised control over, the receivables

   of third-party debtors). As such, these allegations sufficiently state a claim for conversion.

           But FM’s reliance on Bel-Bel for the proposition that DDR’s acceptance of voluntary

   payments from the defaulting merchants somehow constituted an “overt act” of wrongful

   dominion is misplaced. MTD Resp. at 24. Bel-Bel did not involve the mere acceptance by the

   defendant of funds paid into the defendant’s bank account by a third party. Instead, as with the

   first two varieties of FM’s allegations in this case, the defendant in Bel-Bel created a specific “lock-

   box account into which the receivables” at issue were diverted. Id. The plaintiff in Bel-Bel had a

   “present right of possession to the receivables”—a right over which the defendant wrongly

   “exercised control” by unilaterally diverting the funds through the lock-box account. Id. at 1108.

   Here, by contrast, FM’s allegations with respect to the third variety of “overt act” make clear only

   that the merchants decided to pay DDR money they owed to FM. But these allegations fail to

   establish either that DDR unilaterally diverted these monies or that the monies derived from a

   specific fund of money—tantamount to a receivable—over which FM, and only FM, had a

   “present right of possession.” Notably, FM cites no case—and the Court has found none—for the

   proposition that a defaulting third party’s independent decision to withdraw money from its bank

   account and to make voluntary payments, not to the plaintiff, but to the defendant, somehow



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   constitutes an “overt act” asserting “wrongful dominion” over a specific fund of the plaintiff’s

   money.

            Accordingly, DDR’s Motion to Dismiss Count III is DENIED as to the first two varieties

   of FM’s conversion claims and GRANTED as to the third.

   D. Count IV: Fraudulent Transfer

            In Count IV, the Amended Complaint asserts a claim against DDR and Veritas under New

   York’s Debtor and Creditor Law, § 273-a—which, in pertinent part, provides as follows:

            Every conveyance made without fair consideration when the person making it is a
            defendant in an action for money damages or a judgment in such an action has been
            docketed against him, is fraudulent as to the plaintiff in that action without regard
            to the actual intent of the defendant if, after final judgment for the plaintiff, the
            defendant fails to satisfy the judgment.

            In New York, then, a debtor against whom judgment has been entered may not, subsequent

   to that judgment, convey funds to a third party unless the third party pays “fair consideration” for

   the “conveyance.” Id.

            FM alleges that it obtained a state court judgment in New York against Your House, a

   merchant-client who had defaulted on its contractual obligations to FM. Am. Compl. ¶ 107. FM

   says that, at some point after that judgment, Your House entered into a contract with DDR—as a

   result of which Your House began transferring funds to DDR. Id. ¶ 108. Finally, because DDR

   defrauded Your House, FM contends that DDR “took no action” on Your House’s behalf—and

   that, as such, DDR never paid “fair consideration” for the “conveyance.” MTD Resp. at 25.

            DDR counters that it did pay some consideration to Your House. In support, it cites to a

   number of e-mails it exchanged with, and phone calls it made to, Your House’s representatives.

   MTD Reply at 13. But, as DDR conceded at oral argument, the question of what constitutes “fair

   consideration” in practice “must be determined upon the facts and circumstances of each particular



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   case.” United States v. McCombs, 30 F.3d 310, 326 (2d Cir. 1994). Because FM sufficiently alleges

   that Your House received no such “fair consideration” from DDR, DDR’s Motion to Dismiss

   Count IV is DENIED.

   E. D1’s Motion to Set Aside Default

             A few days before the Court held a hearing on DDR’s MTD—nearly ten full months after

   having been served with the complaint and five months after the Clerk of Court entered default

   against it—D1 entered an appearance in this case and then promptly filed a Motion to Join DDR’s

   Motion to Dismiss [ECF No. 112]; a “Re-Notice of Joinder in the Motion to Dismiss” [ECF No.

   119]; and a Motion to Set Aside Default [ECF No. 120].

             D1 was properly and timely served with a copy of the complaint on August 20, 2018 [ECF

   No. 35]. D1 did not contest the adequacy of that service and never deigned to respond to the

   complaint. On January 30, 2019—over five months after D1 was served—FM filed, as to D1, a

   Motion for Clerk’s Entry of Default [ECF No. 66]. On January 31, 2019, the Clerk granted that

   motion [ECF No. 67]. It was not until almost five months later that D1 found it appropriate to

   appear.

             Under Federal Rule of Civil Procedure 55(c), a district court may set aside a clerk’s default

   “for good cause shown.” The Eleventh Circuit has explained that “good cause” is a “mutable

   standard, varying from situation to situation.” Compania Interamericana Export–Import, S.A. v.

   Compania Dominicana de Aviacion, 88 F.3d 948, 951 (11th Cir. 1996). But, although “good

   cause” is “a liberal” standard, it is “not so elastic as to be devoid of substance.” Id. In this respect,

   the Eleventh Circuit has instructed district courts to consider three factors in determining whether

   a party has established “good cause”: (1) whether the default was culpable or willful; (2) whether

   setting aside the default would prejudice the adversary; and (3) whether the defaulting party



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   presents a meritorious defense. Id. Significantly, however, where a party “willfully defaults by

   displaying either an intentional or reckless disregard for the judicial proceedings, the court need

   make no other findings in denying relief.” Id.

          D1 “willfully default[ed]” in this case by “recklessly disregard[ing] th[ese] judicial

   proceedings.” D1’s Motion to Set Aside acknowledges that a Mr. Thomas Uva—whom D1

   describes as a “Director of D1”—received proper service of the complaint in August 2018. Mot.

   Set Aside at 3. But, D1 says, Mr. Uva “did not understand that [the complaint] had any legal

   significance whatsoever.” Id. Of course, Mr. Uva did not file a declaration attesting to any of this.

   Instead, D1’s counsel has submitted a declaration signed by D1’s “former owner,” a Mr. Scarpaci,

   who speculates inappositely about what he believes Mr. Uva thought the summons meant [ECF

   No. 120-1]. This hearsay declaration proves absolutely nothing.

          Moreover, the Court is entirely unmoved by counsel’s protestations at oral argument that

   Mr. Uva—or, as the case may be, Mr. Scarpaci—should receive a pass because they are not

   lawyers. American summonses are written in plain and simple terms precisely so that the laypeople

   upon whom they are typically served can understand and respond to them. Indeed, the Court has

   reviewed the summonses in this case and concludes that no layperson, reviewing them in good

   faith, could have been in any way confused by their significance. See, e.g., Scorsone Summons

   [ECF No. 17-1] (noting, in straightforward terms, that “a lawsuit has been filed against you).” And,

   even if the summons were somehow insufficient to put D1 on notice of its obligation to appear,

   FM served on D1 paper copies of its filings in this case on at least nine different occasions during

   the pendency of this litigation. Mot. Set Aside Resp. at 12 [ECF No. 131]. D1 does not even try to

   explain why it failed to act upon its receipt of any of these filings. Because, in short, the Court

   finds that D1’s default was willful, the Court need not reach the remaining Compania factors. See



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   Dunkin’ Donuts Franchising, LLC v. Gulf to Bay Donuts, Inc., No. 8:10-CV-01087, 2010 WL

   3276459, at *2 (M.D. Fla. Aug. 18, 2010) (“A willful default . . . is sufficient legal reason to deny

   the Defendants’ motion [to set aside a default].”).

          In any event, as both FM and DDR explained at oral argument, any order setting aside the

   Clerk’s default would significantly prejudice both parties. D1 filed its Motion to Set Aside just six

   business days before the close of all discovery. Although they agreed on little else, both DDR and

   FM concurred that D1’s sudden appearance would require the Court to reopen discovery, allow

   additional depositions, permit the parties to retake some of the depositions they have already

   completed, grant the parties the time to propound supplemental requests for production and

   interrogatories, and enter lengthy extensions to each of the long-set deadlines in the Amended

   Scheduling Order [ECF No. 95]. And it is not unreasonable to assume, as FM suggested at the

   hearing, that the parties might have employed different strategies—or taken their discovery in a

   different order—had D1 been involved in this case from the beginning. Allowing D1 to enter this

   case, in other words, would instigate a parade of scheduling horribles that D1’s willful disregard

   of its obligations—and its decision to appear only at the most prejudicial possible moment—does

   not come close to justifying.

                                               *********

          Accordingly, the Court hereby

          ORDERS AND ADJUDGES as follows:

      1. DDR’s Motion to Dismiss [the] Amended Complaint [ECF No. 87] is GRANTED in part

          and DENIED in part. Count I is DISMISSED with prejudice.

      2. D1’s Motion to Set Aside Default [ECF No. 120] is DENIED.




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         3. D1’s Motions to Join Motion to Dismiss [ECF No. 112] and [ECF No. 119] are DENIED

            as moot.

         4. D1’s Motion to Appear Pro Hac Vice, Consent to Designation, and Request to

            Electronically Receive Notices of Filing for Attorney David Graff is DENIED as moot.

            DONE AND ORDERED in Fort Lauderdale, Florida, this 8th day of August 2019.




                                                       __________________________________
                                                       ROY K. ALTMAN
                                                       UNITED STATES DISTRICT JUDGE

   cc:      counsel of record




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